                     Case: 1:14-cr-00438-BYP Doc #: 60 Filed: 07/07/15 1 of 6. PageID #: 319
AO 245B       (Rev. 09/11) Judgment in a Criminal Case
              6KHHW



                                          81,7('67$7(6',675,&7&2857
                                                         NORTHERN DISTRICT OF OHIO
             81,7('67$7(62)$0(5,&$                                                JUDGMENT IN A CRIMINAL CASE
                                  v.
                         Ryan D. Malone                                              &DVH1XPEHU 1:14-CR-438-1
                                                                                     8601XPEHU 30802-160

                                                                                      Darin Thompson, Esq.
                                                                                     'HIHQGDQW¶V$WWRUQH\
THE DEFENDANT:
✔SOHDGHGJXLOW\WRFRXQW V
G                                      Count 1 of the Indictment.
G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
   ZKLFKZDVDFFHSWHGE\WKHFRXUW
G ZDVIRXQGJXLOW\RQFRXQW V
   DIWHUDSOHDRIQRWJXLOW\

7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

Title & Section                   Nature of Offense                                                                          Offense Ended                           Count

 18 U.S.C. §§ 922(g)(1) and        Felon in Possession of Firearm or Ammunition                                                 11/4/2014                             1

 924(a)(2)




   See additional count(s) on page 2


      7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHV 2 WKURXJK 6               RIWKLVMXGJPHQW The sentence is impRVHGSXUVXDQWWo the
6HQWHQFLQJ5HIRUP$FWRI
G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
G &RXQW V                                                  G LV     G DUHdismiVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
         ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDmeUHVLGHQFH
RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG If RUGHUHGWRSD\UHVWLWXWLRQ
                                                                                                                            
WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                                           7/2/2015
                                                                           'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                                           /s/ Benita Y. Pearson
                                                                           Signature of Judge


                                                                           Benita Y. Pearson, U.S. District Judge
                                                                           1DPHRI-XGJH7LWOHRI-XGJH


                                                                           7/7/2015
                                                                           'DWH
                    Case: 1:14-cr-00438-BYP Doc #: 60 Filed: 07/07/15 2 of 6. PageID #: 320
AO 245B      (Rev. 09/11) Judgment in a Criminal Case
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                                                                                                                     Judgment Page: 2 of 6
  '()(1'$17 Ryan D. Malone
  &$6(180%(5 1:14-CR-438-1


                                                                 IMPRISONMENT

           7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUD
  WRWDOWHUPRI
   120 months as to Count 1 of the Indictment, which shall be served concurrently to the sentence anticipated in Cuyahoga
   County Common Pleas Court Case No. CR-14-591007.



      ✔
      G   7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV
  That Defendant be given credit for time served.




      ✔ 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO
      G

      G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
          G DW                                          G DP      G SP        RQ

          G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

      G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
          G EHIRUH               RQ

          G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO
          G DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                       RETURN
  ,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




          'HIHQGDQWGHOLYHUHGRQ                                                              WR

  D                                                      ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



                                                                                                         81,7('67$7(60$56+$/


                                                                               %\
                                                                                                      '(387<81,7('67$7(60$56+$/
                          Case: 1:14-cr-00438-BYP Doc #: 60 Filed: 07/07/15 3 of 6. PageID #: 321
   AO 245B        (Rev. 09/11) Judgment in a Criminal Case
                  6KHHW²6XSHUYLVHG5HOHDVH

                                                                                                                                     Judgment Page: 3 of 6
                                                                                                               
    '()(1'$17 Ryan D. Malone
    &$6(180%(5 1:14-CR-438-1
                                                              SUPERVISED RELEASE
    8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI
    3 years as to Count 1 of the Indictment.


            7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHGLVWULFW WRZKLFKWKHGHIHQGDQWLVUHOHDVHGZLWKLQKRXUVRIUHOHDVH
                                                                                                                                          IURPWKH
    FXVWRG\RIWKH%XUHDXRI3ULVRQV
    7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
    7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
    VXEVWDQFHThe defendant shall submitRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
    WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
    G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
           IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)
    ✔ 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
    G
    ✔ 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)
    G

    G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW      86&et seq
      DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
           ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)

    G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
            ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH
    6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
             7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDW haYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQal FRQGLWLRQV
                                                                                                                                          
    RQWKHDWWDFKHGSDJH

                                             STANDARD CONDITIONS OF SUPERVISION
            WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
            WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUW
             RUWKHSUREDWLRQRIILFHU
            WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
            WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
            WKHGHIHQGDQWVKDOO comply with the Northern District of Ohio Offender Employment Policy which may include participation in
             training, education, counseling and/or daily job search as directed by the pretrial services and probation officer. If not in compliance
             with the condition of supervision requiring full-time employment at a lawful occupation, the defendant may be directed to perform
             up to 20 hours of community service per week until employed, as approved or directed by the pretrial services and probation officer.
            WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
            WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\
             FRQWUROOHGVXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
            WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
            WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
             IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
      ) tKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
          FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
            WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW \WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
            WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPeQWWRDFWDVDQ iQIRUPHURU DVSHFLDODJHQWRIDODZHQIRUFHPHQWDJHQF\ZLWKRXtWKH
              SHUPLVVLRQRIWKHFRXUWDQG

           DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
             UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPiWWK HSUREDWLRQRIILFHUWRPaNHVXFKQRtLILFDWLRQVDQGWRFRQILUP WKH
             GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
"Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of supervision,
and/or (3) modify the conditions of supervision. These conditions have been read to me. I fully understand the conditions and have been provided a copy
of them."
Dated:_____________________                   ________________________________________                   ________________________________________
                                               Defendant                                                 U.S. Probation Officer
                   Case: 1:14-cr-00438-BYP Doc #: 60 Filed: 07/07/15 4 of 6. PageID #: 322
AO 245B     (Rev. 09/11) Judgment in a Criminal Case
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                                                                                                      Judgment Page: 4 of 6
 '()(1'$17 Ryan D. Malone
 &$6(180%(5 1:14-CR-438-1

                                         SPECIAL CONDITIONS OF SUPERVISION
  Mandatory/Standard Conditions:
  While on supervision, the defendant shall not commit another federal, state, or local crime, shall not illegally possess a
  controlled substance, shall comply with the standard conditions that have been adopted by this Court, and shall comply
  with the following additional conditions:

  Mandatory Drug Testing:
  The defendant shall refrain from any unlawful use of a controlled substance and submit to one drug test within 15 days of
  the commencement of supervision and to at least two periodic drug tests thereafter, as determined by the U.S. Pretrial
  Services & Probation Officer.

  Firearms and Dangerous Weapons:
  The defendant shall not possess a firearm, destructive device or any dangerous weapon.

  Substance Abuse Treatment and Testing:
  The defendant shall participate in an approved program of substance abuse testing and/or outpatient or inpatient
  substance abuse treatment as directed by their supervising officer; and abide by the rules of the treatment program. The
  defendant shall not obstruct or attempt to obstruct or tamper, in any fashion, with the efficiency and accuracy of any
  prohibited substance testing.

  DNA Collection:
  The defendant shall cooperate in the collection of DNA as directed by the U.S. Pretrial Services & Probation Officer.

  Search and Seizure:
  The defendant shall submit his/her person, residence, place of business, computer, or vehicle to a warrantless search,
  conducted and controlled by the probation officer at a reasonable time and in a reasonable manner, based upon
  reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a search may
  be grounds for revocation; the defendant shall inform any other residents that the premises may be subject to a search
  pursuant to this condition.

  Gang:
  The defendant shall not associate with any members of the 7-All or Seven-All street gang or any other gang or threat
  group as directed by the probation officer.
                    Case: 1:14-cr-00438-BYP Doc #: 60 Filed: 07/07/15 5 of 6. PageID #: 323
AO 245B      (Rev. 09/11) Judgment in a Criminal Case
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                                                                                                                   Judgment Page: 5 of 6
 '()(1'$17 Ryan D. Malone
 &$6(180%(5 1:14-CR-438-1
                                               CRIMINAL MONETARY PENALTIES
      7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                       Assessment                                      Fine                                       Restitution
 TOTALS            $ 100.00                                          $ 0.00                                 $ 0.00


 G7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO$QAmended Judgement in a Criminal Case (AO 245C) ZLOOEHHQWHUHG
     DIWHUVXFKGHWHUPLQDWLRQ

 G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
     ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
     WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPsPXVWEHSDLG
     EHIRUHWKH8QLWHG6WDWHVLVSDLG

 Name of Payee                                                    Total Loss*                Restitution Ordered            Priority or Percentage




TOTALS                                                                              $0.00                           $0.00
      See page 5A for additional criminal monetary conditions.
G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

      G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH          G ILQH     G UHVWLWXWLRQ
      G WKHLQWHUHVWUHTXLUHPHQWIRUWKH          G ILQH    G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRr RIIHQVHVFRPPLWWHGRQRUDIWHU
                                                                                                                 
6HSWHPEHUEXWEHIRUH$SULO
                    Case: 1:14-cr-00438-BYP Doc #: 60 Filed: 07/07/15 6 of 6. PageID #: 324
AO 245B      (Rev. 09/11) Judgment in a Criminal Case
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                                                                                                                              Judgment Page: 6 of 6
'()(1'$17 Ryan D. Malone
&$6(180%(5 1:14-CR-438-1

                                                        SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVLVGXHDVIROORZV

A    G /XPSVXPSD\PHQWRI                                   GXHLPPHGLDWHO\EDODQFHGXH

          G      QRWODWHUWKDQ                                      RU
          G      LQDFFRUGDQFH          G &        G '        G      (RU     G )EHORZRU
B    G 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK                     G &        G 'RU       G )EHORZ RU
C    G 3D\PHQWLQHTXDO                             (e.g., weekly, monthly, quarterly) LQVWDOOPHQWVRI                            RYHUDSHULRGRI
                          (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D    G 3D\PHQWLQHTXDO                             (e.g., weekly, monthly, quarterly)LQVWDOOPHQWVRI                         RYHUDSHULRGRI
                          (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
          WHUPRIVXSHUYLVLRQRU

E    G 3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                    (e.g., 30 or 60 days)DIWHUUHOHDVHIURP
          LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F    ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
     G
           [✔] A special assessment of $ ____________
                                          100.00                                                 1 of the Indictment
                                                       is due in full immediately as to count(s) _________________________________.
           Mailed payments are to be sent and made payable to the Clerk, U.S. District Court, 801 West Superior Ave., Cleveland, OH 44113-1830..

          [ ] After the defendant is released from imprisonment, and within 30 days of the commencement of the term of supervised release, the probation
          officer shall recommend a revised payment schedule to the Court to satisfy any unpaid balance of the restitution. The Court will enter an order
          establishing a schedule of payments.


8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMudgmeQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXHGXULQJ
LPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHpW WKRVH SD\PHQWVP DGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPaWH)LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHFOHUNRIWKHFRXUW

7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG



G -RLQWDQG6HYHUDO
     'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV(including defendant number)7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
     DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




G 7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ
G 7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 
G 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV



3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
